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DECLARACION DE LUZ L.
YO, LUZ L., declaro lo siguiente:
1, Hago esta declaracién basada en mi propio conocimiento personal y si me

llaman a testificar, puedo y lo haria de la siguiente manera.
2. Soy la madre de Daniel Ramirez Medina. Antes de que Daniel se moviera
a Washington al final del afio pasado, Daniel vivia conmigo en mi casa en California
central desde que llego a los Estados Unidos en el 2003.
3. Desde que Daniel Ilego a los Estados Unidos en el 2003, nunca ha salido
del pais. El no viajo a México en el 2009.
A. La mayoria de la gente que conoce a Daniel lo describirian como timido y
calmado. A él no le gusta pelear o estar en conflicto con la gente. Cuando era un nifio, si
otros nifios se burlaban de él, él trataba de quedarse callado y alejarse de la situacién en
vez de gritarles o herirlos. También es muy temeroso. Frecuentemente me decia que no
le gustaba estar fuera después de las diez de la noche porque no tenia razon de estar
fuera tan tarde.
5. Al crecer, Daniel fue acosado mucho por razones de su peso. Siempre ha
estado un poco gordito, y los otros nifios se burlaban de él por eso con frecuencia. Creo
que el acoso es la raz6n por la cual no le gustaba ir a la escuela. Creo que era dificil
para él ir a la escuela y tener que enfrentarse a eso todos los dias. Como resultado,
Daniel preferia quedarse en casa y pasar tiempo con familia.
6. Daniel nunca tuvo problemas disciplinarios cuando estaba en la escuela. La
escuela nunca me llamo para decirme que estaba en problemas por cualquier razon. Que
yo sepa, Daniel nunca ha sido suspendido o expulsado de la escuela.
7. Daniel dejo la preparatoria algtin tiempo durante sus primeros dos afios. En
aquel tiempo, yo tenia problemas al tratar de llegar al fin de mes y Daniel queria
ayudarme financieramente. Yo no queria que el se saliera de la escuela, y se me rompid
el corazon al verlo dejar la escuela, pero él queria ayudar a nuestra familia. El regreso a
la escuela de adultos para obtener su diploma, pero no pudo completar la escuela

porque tenia que trabajar para apoyar a su hijo y a su familia.

1

DECLARATION OF LUZ L.

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8. Cuando Daniel cumplié 18 afios, se puso un tatuaje en su brazo. Cuando el
era menor de edad, me solia decir que queria un tatuaje porque le gustaba como s¢
miraba, pero yo siempre estuve en contra de ello y le decia que no lo hiciera. El tatuaje
dice, “La Paz, BCS” y tiene una estrella debajo de las letras. “BCS” son las iniciales de
Baja California Sur, el lugar donde nacié. Cuando vino a casa con el tatuaje le pregunte
por que se puso ese tatuaje y me respondid que fue porque queria recordar de donde
vino. Los Estados Unidos es casa para él, pero creo que solo queria recordar de donde
vino. Cuando le pregunte porque se dibujo la estrella, dijo que la vio y le gusto como se
veia. El tatuaje no tiene conexién con una pandilla para él. Tan solo representa donde
nacid. Es su unico tatuaje.

9. Daniel no es parte de y nunca se ha asociado con pandillas. A Daniel no le
gusta ni salir mucho o juntarse con mucha gente. El es muy calmado y prefiere quedarse
en casa con familia. Mi hijo es lo opuesto de una mala persona; él es muy noble y tiene
un gran corazon. Si veia a alguien pidiendo dinero en la calle, el les daba el cambio que
tenia y decia, “Tal vez hoy lo necesitan mas que yo.”

10. Daniel tiene un hijo, Daniel Jr., quien tiene tres afios y es ciudadano
Americano. Desde que nacié Daniel Jr., mi hijo ha vivido por ese nifio. Ayer, Daniel Jr.
vio una foto de su papa en las noticias y empezd a gritar, “Papa! Papa, es mi papa!”
Daniel Jr. extrafia mucho a su papa.

11. Daniel se fue a Seattle, Washington a mediados de diciembre del 2016. Se
fue porque pensaba que podia encontrar un trabajo que pagara mejor en Seattle, donde
vive su hermano. Daniel queria encontrar un mejor trabajo para poder darle una vida
mas estable a su hijo Daniel. Me dijo que queria ahorrar dinero para poder comprar una
casa para nosotras y su hijo, para que nosotros tener un lugar pequefio podamos que
llamar nuestro. Cuando se fue a Washington, su plan era buscar un trabajo y luego que
yo y su hermana nos fuéramos con él, y llegar a un acuerdo con su ex novia para poder

tener a su hijo un tiempo alla con él.

2
DECLARATION OF LUZ L.

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12. Mi hijo es gran padre, hermano, e hijo. Es una buena persona quien jamas
le haria dafio a alguien. No es un pandillero. El necesita estar aqui, en casa, cerca de su
hijo.

13. Tengo mucho miedo que lo manden a México. He escuchado que el pueblo
de donde somos es muy peligroso ahora. Frecuentemente veo reportes que la violencia y
el robo son muy comunes y hay muchas personas que han desaparecido y que son
encontradas meses después, muertas. No quiero que me hijo viva con miedo por su

vida.

Declaro bajo pena de perjurio bajo las leyes de los Estados Unidos de América
que todo lo dicho es correcto y verdadero. Ejecutado el 16 de febrero del 2017 en

Lindsay, California.

LUZ L.

3

DECLARATION OF LUZ L.
